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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

DOMINIQUE JEWETT, AND ALL                        §
OTHERS SIMILARLY SITUATED                        §
UNDER 29 USC 216(B),                             §
                                                 §
        Plaintiff                                §           NO. CIVIL ACTION NO. 3:16-
                                                 §           CV-01068-L
vs.                                              §
                                                 §
SUPERIOR HEALTHPLAN, INC. &                      §
CENTENE COMPANY OF TEXAS, L.P.,,                 §
                                                 §
        Defendants.
                                                 §
                                                 §
                                                 §


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE



        Pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)(A)(ii), Defendants Superior

Healthplan, Inc. and Centene Company of Texas, L.P., by and through their attorneys, and

Plaintiff, Dominique Jewett (“Plaintiff”), by and through her attorneys, hereby file this Joint

Stipulation of Dismissal With Prejudice.

        1.      On April 20, 2016, Plaintiff filed this cause of action. [Doc. No. 1].

        2.      On June 1, 2016, this Court granted the parties’ Joint Motion to Stay Proceedings

pending settlement discussions. [Doc. No. 10].

        3.      On September 16, 2016, this Court entered an order for the parties to submit a

stipulation of dismissal by October 17, 2016. [Doc. No. 14].

        4.      Accordingly, the parties stipulate that they have reached an out of court settlement

and this action shall be dismissed, with prejudice, with each party to bear its own costs of this

action and its own attorneys’ fees.

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         5.        The parties have attached a Proposed Order of Dismissal with Prejudice hereto.




                                                     Respectfully submitted,



/s/ J. Derek Braziel (w/permission)                  /s/ Saba H. Alvi
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